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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE,                 §
et al.,                                            §
                                                   §
              Plaintiffs,                          §
                                                   §
              v.                                   §      Case No. 2:22-cv-00223-Z
                                                   §
U.S. FOOD AND DRUG ADMINISTRATION,                 §
et al.,                                            §
                                                   §
              Defendants,                          §
                                                   §
DANCO LABORATORIES, LLC,                           §
                                                   §
              Intervenor-Defendant.                §
                                                   §

                DANCO LABORATORIES, LLC’S NOTICE OF APPEAL

       Notice is given that Intervenor-Defendant Danco Laboratories, LLC hereby appeals to the

United States Court of Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and

Order, entered into on April 7, 2023 at ECF No. 137.

Dated: April 7, 2023                               Respectfully submitted,

                                                   /s/ Jessica L. Ellsworth

                                                   Ryan Brown
                                                   RYAN BROWN ATTORNEY AT LAW
                                                   Texas Bar No. 24073967
                                                   ryan@ryanbrownattorneyatlaw.com
                                                   1222 S. Fillmore Street
                                                   Amarillo, Texas 79101
                                                   Tel: (806) 372-5711

                                                   Jessica L. Ellsworth*
                                                   Catherine E. Stetson*
                                                   Philip Katz*
                                                   Lynn W. Mehler*
                                                   Kaitlyn A. Golden*

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                                                     Marlan Golden*
                                                     HOGAN LOVELLS US LLP
                                                     555 Thirteenth Street, NW
                                                     Washington, D.C. 20004
                                                     Tel: (202) 637-5600
                                                     jessica.ellsworth@hoganlovells.com

                                                     *admitted pro hac vice

                                                     Counsel for Danco Laboratories, LLC




                                   CERTIFICATE OF SERVICE

       I certify that on April 7, 2023, I electronically filed the foregoing Notice of Appeal using

the CM/ECF system. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties of record.

                                                     /s/ Jessica L. Ellsworth




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